            Case 2:03-cr-00365-MCE Document 70 Filed 06/05/12 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DOUGLAS BEEVERS, U.S.V.I. Bar #766
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    HUISI GONZALEZ-AMAYA
7
8                           IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      Nos.        CR-S-03-00365 MCE
                                     )                  CR-S-12-00161 MCE
12                  Plaintiff,       )
                                     )      STIPULATION AND ORDER
13        v.                         )      TO CONTINUE STATUS CONFERENCE AND
                                     )      DISPOSITIONAL HEARING
14   HUISI GONZALEZ-AMAYA            )
                                     )
15                  Defendant.       )      Date: June 14, 2012
                                     )      Time: 9:00 a.m.
16   _______________________________ )      Judge: Hon. Morrison C. England
17
18         The parties request that the status conference and dispositional
19   hearing in this case be continued from May 31, 2012, to June 14, 2012 at
20   9:00 a.m.    They stipulate that the time between May 31, 2012 and June 14,
21   2012 should be excluded from the calculation of time under the Speedy
22   Trial Act.    The parties stipulate that the ends of justice are served by
23   the Court excluding such time, so that counsel for the defendant may have
24   reasonable time necessary for effective preparation, taking into account
25   the   exercise    of    due   diligence.   18   U.S.C.   §3161(h)(7)(B)(iv).
26   Specifically, counsel needs additional time to negotiate a resolution to
27   this matter and to investigate the facts of the case.
28   ///
            Case 2:03-cr-00365-MCE Document 70 Filed 06/05/12 Page 2 of 3


1    The parties stipulate and agree that the interests of justice served by
2    granting this continuance outweigh the best interests of the public and
3    the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(iv).
4    Dated: May 29, 2012                     Respectfully submitted,
5                                            DANIEL BRODERICK
                                             Federal Defender
6
7                                            /s/ Douglas Beevers
8                                            DOUGLAS BEEVERS
                                             Assistant Federal Defender
9                                            Attorney for Defendant
                                             HUISI GONZALEZ-AMAYA
10
11   Dated: May 29, 2012                     BENJAMIN B. WAGNER
                                             United States Attorney
12
13                                           /s/ Michele Beckwith
14                                           Michele Beckwith
                                             Assistant United States Attorney
15
16                                         ORDER
17         UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
18   ordered that the status conference presently set for May 31, 2012, be
19   continued to June 14, 2012, at 9:00 a.m. Based on the representation of
20   counsel and good cause appearing therefrom, the Court hereby finds that
21   the ends of justice to be served by granting a continuance outweigh the
22   best interests of the public and the defendant in a speedy trial.
23   ///
24   ///
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28   ///


     Stip and Order                         -2-
            Case 2:03-cr-00365-MCE Document 70 Filed 06/05/12 Page 3 of 3


1    It is ordered that time from the date of this Order, to and including,
2    the June 14, 2012, status conference shall be excluded from computation
3    of time within which the trial of this matter must be commenced under the
4    Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
5    T-4.
6
     Dated: June 4, 2012
7
8                                          _____________________________
                                           MORRISON C. ENGLAND, JR.
9
                                           UNITED STATES DISTRICT JUDGE
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     Stip and Order                         -3-
